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 5

 6

 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,     )          CASE NO. 2:07-CR-441 GEB
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )          STIPULATION AND ORDER TO
                                   )          EXCLUDE TIME
13   DANIEL MANCILLA CHAVEZ,       )
                                   )
14                                 )
                    Defendant.     )
15   ______________________________)
16

17        The parties request that the trial date in this case,
18   currently set for November 3, 2009, be vacated and that the
19   matter be continued to November 13, 2009 for change of plea at
20   9:00 a.m.   The parties stipulate that the time between November
21   3, 2009 and November 13, 2009 should be excluded from the
22   calculation of time under the Speedy Trial Act.        The parties
23   stipulate that the ends of justice are served by the Court
24   excluding such time, so that counsel for the defendant may have
25   reasonable time necessary for effective preparation, taking into
26   account the exercise of due diligence.       18 U.S.C. §
27   3161(h)(7)(B)(iv) and Local Code T-4.       Specifically, a plea
28   agreement has been provided to the defendant.        Some additional

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 1   changes need to be made to that plea agreement.           Defense counsel
 2   will need time to review the changes to plea agreement, discuss
 3   those changes with the defendant, and prepare for the change of
 4   plea hearing.
 5        The parties stipulate and agree that the interests of
 6   justice served by granting this continuance outweigh the best
 7   interests of the public and the defendant in a speedy trial.             18
 8   U.S.C. § 3161(h)(7)(A).
 9

10                                              Respectfully Submitted,
11                                              LAWRENCE G. BROWN
                                                United States Attorney
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13
     DATE: October 28, 2009              By:     /s/ Heiko P. Coppola
14                                              HEIKO P. COPPOLA
                                                Assistant U.S. Attorney
15

16
     DATE: October 28, 2009                      /s/ John Manning
17                                              JOHN MANNING
                                                Attorney for Defendant
18

19                                              SO ORDERED.
20
     Dated:    October 28, 2009
21

22
                                      GARLAND E. BURRELL, JR.
23
                                      United States District Judge

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